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FOR THE wEsTERN DISTRICT oF TENNESSEE 955-my 19 '
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CARLINE CRAWFORD,
Plaintiff,
vs. No. 04-2720-B[P

M'UVICO THEATERS, INC. ,

Defendant.

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ORDER GR.ANTING PLAINTIFF’S MOTION FOR JURY TRIAL

 

Before the Court is Plaintiff Carline Crawford's Motion for
Jury Trial, filed on April 28, 2005 (dkt #13). Defendant Muvico
Theaters, Inc. filed its response on May' 4, 2005. For the
following reasons, the motion is GRANTED.
I . BACKGROUND
Plaintiff Carline Crawford filed a pro se complaint alleging
violations of Title VII of the Civil Rights Act of 1964, 42 U.S.C.
§ 2000e et seq., on Septemher 13, 2004. On February 3, 2005, at
the scheduling Conferenoe, plaintiff asked the court for a jury
trial and was instructed to file a motion. On April 28, 2005,
plaintiff filed the present motion for jury trial.
II . ANALYSIS

In a case in which a party has a right to a trial by jury, a

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demand for a jury trial must be made by “serving upon the other
parties a demand therefor in writing at any time after the

commencement of the action and not later than 10 days after the

service of the last pleading directed to such issue....” Fed. R.
Civ. P. 38(b). Although a failure to make this timely demand
results in a waiver of the right, Rule 39(b) provides,

“notwithstanding the failure of a party to demand a jury in an
action in which such a demand might have been made of right, the
court in its discretion upon motion may order a trial by a jury of
any or all issues.” Fed. R. Civ. Pro. 39{b). A district court has
broad discretion in ruling cmi a Rule 39(b) motion and should
exercise such discretion in favor of granting a jury trial where
there are no strong and compelling reasons to the contrary.
Kitchen v. Chippewa Valley Schools, 825 F.2d 1004, 1013 (Gth Cir.
1987) .

Defendant cites Misco, lnc. v. Steel Corp;, 784 F.Zd 198 (6th
Cir. 1986), for the proposition that the district court should deny
a Rule 39(b) motion where the only reason for not timely making a
jury demand is mere inadvertence. The Mi§gg court ruled, however,
only' that a court's denial of a Rule 39(b) motion for mere
inadvertence is generally not an abuse of discretion. ldg at 205;
See also Moodv v. Pepsi, 915 F.2d 201, 207 (6th Cir. 1990)(“the
court's discretion should be exercised in favor of granting a jury

trial where there are no compelling reasons to the contrary”}.

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Moreover, the Mi§gg_ court observed that “[w]e note that
different policy considerations may be applicable if the party
is proceeding pro se." Mi§gg 784 F.2d at 205 n.8. In this case,
the plaintiff filed a pro se complaint. While this reason alone
does not excuse her failure to make a timely demand for a jury
trial, her pro se status should be taken into account when
determining whether there are compelling reasons to deny a Rule
39(b) motion. See Haines v. Kerner 404 U.S. 519, 520 (1972).

In addition, plaintiff expressed her desire for a jury trial
earlier at the scheduling conference on February 3, 2005, giving
fair' warning to the defendant that she intended to file this
motion. Moreover, the trial is not set until January of 2006,
which gives the defendant plenty of time to prepare for a jury
trial. Therefore, run prejudice cn: harm tx) the defendant will
result from granting the motion.

III. CONCLUSION
Accordingly, the Court GRANTS the motion for jury trial.

IT lS SO ORDERED.

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TU"M. PHAM "
United States Magistrate Judge

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Date '

 

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Honorable J. Breen
US DISTRICT COURT

